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                       Exhibit H
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From:               Uriel Rivkin <urielrivkin@gmail.com>
Sent:               Monday, December 14, 2020 4:16 PM
To:                 Tyler Rowland
Subject:            Re: HART - Young Israel Ad


Dear Mr. Rowland,



Thank you for your response. You have proposed changing the ad by taking out the ad’s main image (a menorah) and by
deleting the reference to the lighting of the Grand Ice Menorah—a key feature of our annual Chanukah on Ice
celebration. As I’m sure you know, the lighting of the menorah is a central aspect of the Orthodox Jewish celebration of
Chanukah. Thus, your changes are both offensive and not possible to make. Please let me know if HART will accept the
ad as originally designed.

On Mon, Dec 14, 2020, 2:23 PM Tyler Rowland <RowlandT@gohart.org> wrote:

 Good afternoon,



 We have not heard back from you on the previous emails with the changes to ad. Please let us know on how you would
 like to proceed.



 Thank you,




 Tyler Rowland

 Manager of Communications & Creative Services

 HART
 1201 East 7th Avenue
 Tampa, FL 33605
 Tel: (813) 384-6575
 Fax: 813-384-6284

 Rowlandt@gohart.org

 http://www.gohart.org




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From: Tyler Rowland
Sent: Thursday, December 10, 2020 2:29 PM
To: urielrivkin@gmail.com
Subject: RE: HART ‐ Young Israel Ad



Good afternoon Rabbi Rivkin,



Just wanted to follow up on my previous email. Look forward to hearing back from you.




Best,

Tyler




Tyler Rowland

Manager of Communications & Creative Services

HART
1201 East 7th Avenue
Tampa, FL 33605
Tel: (813) 384-6575
Fax: 813-384-6284

Rowlandt@gohart.org

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From: Tyler Rowland
Sent: Tuesday, December 8, 2020 12:03 PM
To: urielrivkin@gmail.com
Subject: HART ‐ Young Israel Ad



Hello Rabbi Rivkin,



I wanted to reach out to you with our suggested edits to you event’s ad the you are interested in on HART. We met
yesterday as a team to discuss these edits/changes to ad per our advertising policy. Our ICEO, Ruthie Reyes Burckhard
spoke to you yesterday as well to let you know we were discussing you ad. Please take a moment to review the notes
on the attached PDF of you ad that contains the edits and let us know if these changes can be made.



Look forward to hearing back from you,



Regards,

Tyler Rowland




Tyler Rowland

Manager of Communications & Creative Services

HART
1201 East 7th Avenue
Tampa, FL 33605

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Tel: (813) 384-6575
Fax: 813-384-6284

Rowlandt@gohart.org

http://www.gohart.org




Please note: Hillsborough Transit Authority (HART) is a public agency and all correspondence to or from this Agency
is subject to disclosure under Florida's Public Records laws (Florida Statutes, Chapter 119).

Created on October 3, 1979, the Hillsborough Area Regional Transit Authority (HART) is the regional mobility
provider in Hillsborough County, serving a population of more than 1.4 million residents in the cities of Tampa,
Temple Terrace, and parts of unincorporated Hillsborough County, the fourth most populated county in Florida. Its
total service area covers 1,000 square miles which is almost the size of Rhode Island. HART operates fixed-route
local and express bus service, door-to-door paratransit service, flex-route service, and manages the TECO Line
Streetcar System. HART’s mission is to take people to places that enhance their lives. For more information, visit
www.gohart.org, follow HART on Facebook and Twitter, or call (813) 254-4278.

* Go Green! Please don't print this e-mail unless you really need to. Thanks!




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